           Case 1:21-cv-03062-SDG Document 1 Filed 07/29/21 Page 1 of 9




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

MONDRE POWELL,
individually, and on behalf of others
similarly situated,
                                                    Civil Action File No.:
      Plaintiffs,
                                                _________________________
v.
                                                JURY TRIAL DEMANDED
TREADMAXX TIRE
DISTRIBUTORS, Inc.

      Defendant.

                     COLLECTIVE ACTION COMPLAINT


      Named Plaintiff Mondre Powell (“Named Plaintiff”), individually and on

behalf of others similarly situated, files this Complaint against Defendant

Treadmaxx Tire Distributors, Inc. (“Defendants” or “Treadmaxx”), and alleges as

follows:

                           NATURE OF THE ACTION

      1.      This is a collective action for unpaid overtime wages brought pursuant

to the Fair Labor Standards Act, 29 U.S.C. § 201 et seq. (“FLSA”).

      2.      In this collective action, Named Plaintiff alleges that Defendants

willfully violated the FLSA by failing to pay Named Plaintiff and other similarly
           Case 1:21-cv-03062-SDG Document 1 Filed 07/29/21 Page 2 of 9




situated employees 1.5 times their regular hourly rate of pay for all hours worked

over 40 per workweek.

      3.      The proposed class that Named Plaintiff seeks to represent, and on

behalf of whom Named Plaintiff files this collective action, consists of all

individuals employed by Defendant as “Drivers” at any of Defendant’s warehouses

located within the United States at any time within three years preceding the filing

of this Complaint (Named Plaintiff and all persons who consent to join this action

are referred to collectively as “Plaintiffs”).

                                    THE PARTIES

      4.      Defendant Treadmaxx is a Georgia corporation with its principal office

address located at 2832 Anvil Block Road, Ellenwood, Georgia, 30294.

      5.      Treadmaxx may be served through its registered agent, Mark

Kauffman, at 2832 Anvil Block Road, Ellenwood, Georgia 30294.

      6.      Named Plaintiff Mondre Powell worked for Defendant as a Driver

within the three years preceding the filing of this Complaint.

      7.      Named Plaintiff consents in writing to join this action pursuant to 29

U.S.C. § 216(b). See Exhibit 1.

      8.      Other Drivers, who are similarly situated to Named Plaintiff, are

interested in joining this collective action.


                                          -2-
           Case 1:21-cv-03062-SDG Document 1 Filed 07/29/21 Page 3 of 9




      9.      For example, Opt-in Plaintiffs Mark Berding, Mark Nido, and Avery

Thomaston have filed consents to join this action. See Exhibits 2-4.

                          JURISDICTION AND VENUE

      10.     Under 28 U.S.C. § 1331 this Court has jurisdiction over Plaintiffs’

claims because the claims raise questions of federal law.

      11.     Under 28 U.S.C. § 1391(b) and Local Rule 3.1(B) venue is proper in

this division because at least one defendant resides in this division and a substantial

part of the events or omissions giving rise to the claims occurred in this division.

      12.     Treadmaxx is subject to personal jurisdiction in this Court because it is

a Georgia corporation with its principal office address located in Georgia and

conducts substantial business in Georgia.

                  TREADMAXX IS COVERED BY THE FLSA

      13.     Treadmaxx is an enterprise engaged in commerce or the production of

goods for commerce.

      14.     Treadmaxx employs two or more individuals who engage in commerce,

the production of goods for commerce or who handle, sell, or work with goods or

materials that have moved in or were produced for commerce.

      15.     Treadmaxx employs two or more individuals who regularly

communicate across state lines using the interstate mail and telephone while



                                         -3-
         Case 1:21-cv-03062-SDG Document 1 Filed 07/29/21 Page 4 of 9




performing their job duties.

       16.    Treadmaxx employs two or more individuals who regularly

communicate across state lines using the internet while performing their job duties.

       17.    Treadmaxx’s employees handle and use materials that have traveled

through interstate commerce, such as computers, telephones, fax machines, tires, and

automobiles while performing their job duties.

       18.    Treadmaxx employs two or more individuals who process credit card

transactions while performing their job duties.

       19.    Treadmaxx’s gross annual sales and business done for each of the three

years preceding the filing of this Complaint exceeds $500,000.

                 TREADMAXX EMPLOYS THE PLAINTIFFS

       20.    Treadmaxx employs the Plaintiffs within the meaning of the FLSA.

       21.    Treadmaxx has the authority to hire and fire the Plaintiffs.

       22.    Treadmaxx determines the employment policies applicable to

Plaintiffs.

       23.    Treadmaxx has the authority to modify the employment policies

applicable to Plaintiffs.

       24.    Treadmaxx determines how much, and in what manner, Plaintiffs are

compensated.


                                         -4-
         Case 1:21-cv-03062-SDG Document 1 Filed 07/29/21 Page 5 of 9




       25.      Treadmaxx maintains the employment records, such as time and pay

records, for Plaintiffs.

         FACTUAL ALLEGATIONS CONCERNING PLAINTIFFS’
                COMPENSATION AND JOB DUTIES

       26.      Treadmaxx is a tire distribution company that distributes tires across

the United States from approximately 14 wholesale distribution facilities located in

seven states.

       27.      Treadmaxx employs the Plaintiffs as “Drivers.”

       28.      For example, Named Plaintiff worked for Treadmaxx as a Driver at

Treadmaxx’s warehouse in Atlanta, Georgia.

       29.      Opt-in Plaintiff Mark Berding worked for Treadmaxx as a Driver at

Treadmaxx’s warehouses located in Columbus, Ohio and Cincinnati, Ohio.

       30.      Opt-in Plaintiff Mark Nido worked for Treadmaxx as a Driver at

Treadmaxx’s warehouse located in Cleveland, Ohio.

       31.      As Drivers, Plaintiffs report to Defendant’s warehouses each day to

load trucks with Defendant’s tires and drive Defendant’s trucks to deliver tires to

Defendant’s customers.

       32.      Treadmaxx pays Plaintiffs an hourly wage for the hours Plaintiffs work.

       33.      For example, Treadmaxx paid Named Plaintiff $16.12 per hour.

       34.      Plaintiffs are non-exempt employees, entitled to 1.5 times their regular

                                           -5-
         Case 1:21-cv-03062-SDG Document 1 Filed 07/29/21 Page 6 of 9




hourly rate for all hours worked over 40 per workweek.

      35.     Plaintiffs frequently work more than 40 hours per workweek.

      36.     However, Treadmaxx does not pay Plaintiff’s 1.5 times their regular

hourly rate for all hours worked over 40 per workweek.

      37.     For example, Treadmaxx has a company-wide policy pursuant to which

Treadmaxx automatically deducts a 30-minute lunch breaks from Plaintiffs’ wages.

      38.     Due to the requirements of the job, Plaintiffs are frequently not able to

take a lunch break and must work through their lunch breaks to complete their daily

deliveries.

      39.     Treadmaxx knows that Plaintiffs frequently work through their lunch

breaks because Treadmaxx monitors the location of the trucks driven by Plaintiffs

and Treadmaxx knows when Plaintiffs are able to stop to take a lunch break and

when they are not.

      40.     However, Treadmaxx deducts a 30-minute lunch break regardless of

whether Plaintiffs actually take a lunch break.

      41.     Treadmaxx’s company-wide policy results in Plaintiffs not receiving

1.5 times their regular hourly rates for all hours worked over 40 per workweek.

      42.     Treadmaxx also pays Plaintiffs safety bonuses when there are no

accidents in Defendant’s warehouses for a specified amount of time.


                                         -6-
         Case 1:21-cv-03062-SDG Document 1 Filed 07/29/21 Page 7 of 9




      43.    These bonuses are “non-discretionary” and must be included in

Plaintiffs’ “regular rate” of pay when calculating Plaintiffs’ overtime wages.

      44.    However, because Defendants fail to record all hours Plaintiffs work,

Defendants do not properly calculate Plaintiffs’ “regular rate” of pay and fail to pay

Plaintiffs 1.5 times their regular rate of pay for all hours worked over 40 per week.

      45.    By failing to pay Plaintiffs 1.5 times their regular hourly rates for all

hours worked over 40 per workweek, Treadmaxx willfully violated the FLSA.

      46.    Due to Treadmaxx’s willful violation of the FLSA, Plaintiffs are

entitled to their unpaid overtime wages for a period of three years, liquidated

damages in an amount equal to their unpaid overtime wages, and their attorney’s

fees and costs of litigation.

       COUNT 1: WILLFUL FAILURE TO PAY OVERTIME WAGES

      47.    Treadmaxx employs the Plaintiffs as Drivers.

      48.    Treadmaxx knows that Plaintiffs are frequently unable to take a lunch

break but automatically deducts a 30-minute lunch break from Plaintiffs’ wages even

when Plaintiffs are not able to take a lunch break.

      49.    By automatically deducting a 30-minute lunch break from Plaintiffs’

wages, Treadmaxx fails to pay Plaintiffs 1.5 times their regular hourly rates for all

hours worked over 40 per workweek.


                                        -7-
            Case 1:21-cv-03062-SDG Document 1 Filed 07/29/21 Page 8 of 9




      50.      By failing to pay Plaintiffs 1.5 times their regular hourly rates for all

hours worked over 40 per workweek, Treadmaxx willfully violated the FLSA.

      51.      Accordingly, Plaintiffs are entitled to their unpaid overtime wages, an

equal amount in liquidated damages, and their attorney’s fees and costs of litigation.

                            DEMAND FOR JUDGMENT

      Plaintiffs respectfully request that the Court:

      I.       Conditionally certify this case as a collective action under 29 U.S.C.

§ 216(b) and approve the issuance of a notice of this lawsuit to similarly situated

collective action class members informing them of their right to join this action;

      II.      Declare that Defendant’s actions, policies, and practices violated, and

continue to violate, the rights of Named Plaintiff and others similarly situated under

the FLSA;

      III.     Declare that Defendant’s violation of the FLSA is willful;

      IV.      Award Named Plaintiff and others similarly situated all unpaid wages

for a period of three years;

      V.       Award Named Plaintiff and others similarly situated liquidated

damages in an amount equal to their unpaid wages;

      VI.      Award Named Plaintiff and others similarly situated their reasonable

attorneys’ fees, costs, and expenses; and


                                          -8-
         Case 1:21-cv-03062-SDG Document 1 Filed 07/29/21 Page 9 of 9




      VII. Award all other relief to which Named Plaintiff and others similarly

situated may be entitled.

                        DEMAND FOR TRIAL BY JURY

      Named Plaintiff, on behalf of himself and others similarly situated, requests a

trial by jury pursuant to Fed. R. Civ. P. 38.


      Filed: July 29, 2021.



    PARKS, CHESIN & WALBERT, P.C.                 /s/ Dustin L. Crawford
    75 Fourteenth Street                          Dustin L. Crawford
    26th Floor                                    Georgia Bar No. 758916
    Atlanta, Georgia 30309                        dcrawford@pcwlawfirm.com
    Phone: 404-873-8000                           John L. Mays
    Fax: 404-873-8050                             Georgia Bar No. 986574
                                                  jmays@pcwlawfirm.com
    Counsel for Plaintiffs




                                         -9-
